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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                DETROIT DIVISION

 MOLLIE WHITE,

 Plaintiff,
                                                     Case No. 2:20-cv-10292
 v.

 SMS FINANCIAL, LLC.                                 JURY TRIAL DEMANDED

 Defendant.


                                        COMPLAINT

         NOW COMES Mollie White (“Plaintiff”), by and through her attorney, James C.

Vlahakis, and brings the following civil action against Defendant SMS Financial, LLC

(“SMS”) as follows:

         I.    Parties, Jurisdiction and Venue

         1.    Plaintiff is a resident of Mount Clemens, Michigan and has filed this civil

action pursuant to the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692,

et seq. and the Michigan Occupational Code (“MOC”) at M.C.L. §339.901 et seq.

         2.    Plaintiff’s cellular telephone number is 586-441-2007.

         3.    Subject matter jurisdiction exists pursuant to 28 U.S.C. §§1331 and 1337.

         4.    Supplemental jurisdiction exists for the state law claims pursuant to 28

U.S.C. §1367.

         5.    Plaintiff is a citizen of the State of Michigan and resides in this District.

         6.    SMS is a collection agency with its principle office located at 6829 North

12th Street, Phoenix, Arizona 85014.

         7.    The principal purpose of SMS’s business is the collection of consumer

debts.

         8.    SMS collects or attempts to collect, directly or indirectly, defaulted debts

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owed or due or asserted to be owed or due to others, from consumers in the State of

Michigan residing in the State of Michigan using the mail and telephone.

       9.     Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant

conducts business in the Eastern District of Michigan as noted in the above paragraph.

       10.    Plaintiff resides in the Eastern District of Michigan, and the events giving

rise to the claims occurred within the Eastern District of Michigan by virtue of the fact

that Defendant called Plaintiff’s Michigan based telephone number and Plaintiff received

unlawful telephonic communications from Defendant while residing in this District.

       II.    Background Facts Related to FDCPA Violations

       11.    Prior to the conduct-giving rise to Plaintiff’s claims, Plaintiff financed an

automobile from an automobile dealership (the “Original Creditor”).

       12.    Plaintiff was making timely payments on her automobile.

       13.    Plaintiff was unable to continue making payments on her automobile.

       14.    Plaintiff allowed the Original Creditor to repossess her automobile.

       15.    After the automobile was repossessed, there remained a balance (the

“Subject Debt”) that Plaintiff still owed which resulted in Plaintiff defaulting on the

Subject Debt.

       16.    Upon information and belief, the Original Creditor entered a judgment

against Plaintiff for the Subject Debt.

       17.    After the Subject Debt was in default, SMS acquired the right to collect or

attempt to collect on the Subject Debt.

       18.    In or around August 2019, SMS began placing collection calls to Plaintiff’s

cellular telephone.

       19.    Plaintiff is a “consumer” as defined by Section 1692a(3) of the FDCPA

because Defendant regards Plaintiff as being a natural person obligated to pay the


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Subject Debt.

       20.    SMS used the telephone to attempt to collect the subject debt and, as such,

engaged in “communications” as defined in FDCPA §1692a(2).

       21.    SMS’s telephonic communications to Plaintiff were made in connection

with the collection of the Subject Debt.

       22.    The Subject Debt is a “debt” as defined by Section 1692a(5) of the FDCPA

as it arises out of a transaction due or asserted to be owed or due to another for personal,

family, or household purposes.

       23.    SMS is a “debt collector” as defined by Section 1692a(6) of the FDCPA

because its primary business is the collection of delinquent debts and it regularly

collects debts and uses the mail and/or the telephones to collect delinquent accounts

allegedly owed to a third party.

       24.    Defendant used telephone number (602) 944-0624 to call Plaintiff in

numerous attempts to collect the Subject Debt.

       25.    SMS used other numbers to contact Plaintiff.

       26.    Concerned about the violations of her rights against telephone harassment

and Defendant’s invasion of her privacy, Plaintiff sought the assistance of counsel to

permanently cease SMS’s collection efforts.

       III.   Violations of the FDCPA

              Count I – Violations of Section 1692c of the FDCPA

       27.    Plaintiff realleges the above paragraphs as though fully set forth herein.

       28.    When Plaintiff answered Defendant’s telephone calls, she spoke with

employees and/or representatives of Defendant and repeatedly told these employees

and/or representatives to stop calling her.

       29.    Despite Plaintiff telling employees and/or representatives of SMS to stop


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calling her, SMS continued to place collection calls to Plaintiff’s cellular telephone.

       30.    Notwithstanding Plaintiff’s request that Defendant stop contacting her,

Defendant placed or caused to be placed numerous harassing phone calls to Plaintiff’s

cellular telephone between August 2019 through the present day, in an attempt to

collect on the Subject Debt.

       31.    SMS’s phone calls caused Plaintiff actual harm, including but not limited

to, invasion of privacy, nuisance, intrusion upon and occupation of Plaintiff’s cellular

telephone capacity.

       32.    SMS’s unwanted and harassing calls wasted Plaintiff’s time, caused

annoyance and distraction caused by the unwanted and harassing phone calls,

aggravation that accompanies unsolicited debt collection calls.

       33.    SMS’s illegal conduct caused Plaintiff harassment, emotional distress,

anxiety, and loss of concentration.

       34.    SMS’s harassing calls diminished value and utility of Plaintiff’s telephone

equipment and telephone subscription services, debilitating Plaintiff’s voicemail

capacity, the wear and tear caused to her cellular telephone, the loss of battery charge,

the loss of battery life, and the per-kilowatt electricity costs required to recharge her

cellular telephone as a result of increased usage of her telephone services.

       35.    SMS violated Section 1692c(a)(1) when it continuously called Plaintiff after

being notified to stop calling her.

       36.    This repeated behavior of systematically calling Plaintiff’s cellular

telephone after she demanded that it cease contacting her was harassing and abusive.

       37.    Even after being told to stop contacting her, SMS continued its consistent

phone calls with the specific goal of oppressing and abusing Plaintiff into paying the

Subject Debt.


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       38.      Furthermore, SMS has relentlessly called Plaintiff numerous times. This

volume of calls shows that SMS willfully ignored Plaintiff’s pleas with the goal of

annoying and harassing her.

       39.      Plaintiff notified SMS that its calls were not welcomed. As such, SMS knew

that its conduct was inconvenient and harassing to her.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

             a. Declare that the practices complained of herein are unlawful and
                violate the aforementioned statute;

             b. Award Plaintiff statutory and actual damages, in an amount to be
                determined at trial, for the underlying FDCPA violations;

             c. Award Plaintiff costs and reasonable attorney fees as provided
                under 15 U.S.C. §1692k; and

             d. Award any other relief as the Honorable Court deems just and
                proper.

                Count II – Violations of Sections 1692d and d5 of the FDCPA

       40.      Plaintiff realleges paragraphs 15 through 25 as though fully set forth

herein.

       41.      Further, Plaintiff adopt the allegations set forth in Count I as though fully

set forth herein.

       42.      SMS continued to call Plaintiff after Plaintiff told SMS to stop calling her

cellular telephone.

       43.      Defendant failed to abide by Plaintiff’s do not call request for the purpose

of annoying, abusing and/or harassing Plaintiff.

       44.      SMS placed or caused to be placed numerous harassing phone calls to

Plaintiff’s cellular telephone from August 2019 through the present day after Plaintiff

demanded such calls cease.

       45.      SMS violated Section1692d by engaging in abusive, harassing, and


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oppressive conduct by continuously calling Plaintiff’s cellular phone seeking immediate

payment on the Subject Debt.

       46.      SMS violated Section 1692d(5) by causing Plaintiff’s cellular phone to ring

repeatedly and continuously in an attempt to engage Plaintiff in conversations regarding

the collection of the Subject Debt.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

             a. Declare that the practices complained of herein are unlawful and
                violate the aforementioned statute;

             b. Award Plaintiff statutory and actual damages, in an amount to be
                determined at trial, for the underlying FDCPA violations;

             c. Award Plaintiff costs and reasonable attorney fees as provided
                under 15 U.S.C. §1692k; and

             d. Award any other relief as the Honorable Court deems just and
                proper.

                Count III – Violations of FDCPA Section 1692e, e(2)(A) and e(10)

       47.      Plaintiff realleges the above paragraphs as though fully set forth herein.

       48.      Section 1692e of the FDCPA states, “[a] debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection

of any debt.”

       49.      Section 1692e(2)(A) of the FDCPA prohibits debt collectors from making a

“false representation of – (2) the character, amount or legal status of any debt[.]”

       50.      Section 1692e(10) of the FDCPA prohibits a debt collector from “us[ing] of

any false representation or deceptive means to collect or attempt to collect any debt or

to obtain information concerning a consumer.”

       51.      SMS violated Section 1692e and e(10) by engaging in false, deceptive, and

misleading means in connection to the Subject Debt.

       52.      On information and belief, the Statute of Limitations to sue on the Subject


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has expired.

        53.    In one particular call that SMS made to Plaintiff’s cellular telephone, one

of SMS’s employees and/or representative asked Plaintiff to make a payment toward the

Subject Debt.

        54.    Plaintiff responding by stating that she was not able to make a payment

toward the Subject Debt and again requested that SMS stop calling her.

        55.    To the best of Plaintiff’s memory, SMS’s representative responded by

stating something along the lines of, “you have five seconds to figure out how you are

going to handle this or I will find a way.”

        56.    The same representative also told Plaintiff “we have twenty-one years to

sue you on this debt.”

        57.    Upon information and belief, Plaintiff defaulted on the subject debt in

2011.

        58.    SMS’s false and misleading statements were made in an attempt to

pressure Plaintiff into making a payment on the Subject Debt in order to revive the

Statute of Limitations to sue on the Subject Debt.

        59.    On information and belief, a judgment was entered against Plaintiff relative

to the Subject Debt for a sum certain.

        60.    On information and belief, the judgment does not provide the right to

collect interest.

        61.    Further, notwithstanding the fact that the judgment does not provide the

right to collect interest, on information and belief, SMS continues to add interest to the

Subject Debt although a judgment was entered against Plaintiff.

        62.    SMS’s statements to Plaintiff were false, misleading, and unfair.

        63.    SMS’s false and misleading statements caused Plaintiff to panic and worry.


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      64.      SMS’s false and unfair states caused Plaintiff’s heartrate to increase.

      65.      Specifically, SMS attempted to mislead Plaintiff into believing that it could

sue her on the Subject Debt, when it cannot.

      66.      SMS falsely and misleadingly represented to Plaintiff that it has 21 years

to sue Plaintiff on the Subject Debt, when it does not.

      67.      SMS used such deceptive conduct in order to scare Plaintiff into making a

payment on the Subject Debt in order to revive the Statute of Limitations to sue on the

Subject Debt.

      68.      The aforementioned conduct violated Sections 1692e and e(10) of the

FDCPA.

      69.      Additionally, if a judgment has not been obtained against Plaintiff for the

Subject Debt, and the time to lawfully sue Plaintiff to collect the debt has expired, then

SMS violated Section 1692e(2)(A) and e(10) of the FDCPA because SMS’s employees

and/or representatives did not orally inform Plaintiff that the statutes of limitations

upon which to sue Plaintiff to collect the Subject Debt has expired.

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

            a. Declare that the practices complained of herein are unlawful and
               violate the aforementioned statute;

            b. Award Plaintiff statutory and actual damages, in an amount to be
               determined at trial, for the underlying FDCPA violations;

            c. Award Plaintiff costs and reasonable attorney fees as provided
               under 15 U.S.C. §1692k; and

            d. Award any other relief as the Honorable Court deems just and
               proper.

               Count IV – Violations of FDCPA Section 1692f

      70.      Plaintiff realleges the above paragraphs as though fully set forth herein.

      71.      SMS violated Section 1692f by using unfair and unconscionable means to


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attempt to collect on the Subject Debt.

       72.      SMS unfairly harassed Plaintiff with phone calls to her cellular telephone

in an attempt to collect on the Subject Debt after she demanded such calls cease.

       73.      Furthermore, SMS unconscionably told Plaintiff that she had five seconds

to figure out how she would handle the Subject Debt or he would find a way.

       74.      SMS’s unfair threat to Plaintiff caused Plaintiff to panic and worry.

       75.      Further, on information and belief, a judgment was entered against

Plaintiff relative to the Subject Debt for a sum certain.

       76.      On information and belief, the judgment does not provide the right to

collect interest.

       77.      Notwithstanding the fact that the judgment does not provide the right to

collection interest, on information and belief, SMS continues to add interest to the

Subject Debt.

       78.      If a judgment has not been obtained against Plaintiff for the Subject Debt,

and the time to lawfully sue Plaintiff to collect the debt has expired, then SMS violated

Section 1692f of the FDCPA because SMS’s employees and/or representatives did not

orally inform Plaintiff that the statutes of limitations upon which to sue Plaintiff to

collect the Subject Debt has expired.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

             a. Declare that the practices complained of herein are unlawful and
                violate the aforementioned statute;

             b. Award Plaintiff statutory and actual damages, in an amount to be
                determined at trial, for the underlying FDCPA violations;

             c. Award Plaintiff costs and reasonable attorney fees as provided
                under 15 U.S.C. §1692k; and

             d. Award any other relief as the Honorable Court deems just and
                proper.


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                Count V – Violations of FDCPA Section 1692g

       79.      Plaintiff realleges the above paragraphs as though fully set forth herein.

       80.      Plaintiff verified her current address with SMS several times.

       81.      On information and belief, at no time did SMS send Plaintiff any

correspondence notifying her of her rights pursuant to 15 U.S.C. Section 1692g.

       82.      SMS violated Section1692g through its initial telephonic communication

by failing to properly transmit a letter to Plaintiff within five days of SMS’s first phone

communication with Plaintiff.

       83.      On information and belief, SMS through its initial oral communications

demanded payment of the Subject Debt from Plaintiff and failed to adequately send

Plaintiff her right to dispute the validity of the Subject Debt within five days of the initial

communication.

       84.      On information and belief, SMS did not provide Plaintiff with written

documentation of her rights to dispute a debt within five days of SMS’s first phone

communication with Plaintiff.

       85.      SMS’s failure to provide Plaintiff with written documentation of her rights

to dispute a debt within five days of SMS’s first phone communication with her

prevented Plaintiff from knowing to send Defendant a written cease and desist request

to effectively stop all debt collection related phone calls.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

             a. Declare that the practices complained of herein are unlawful and
                violate the aforementioned statute;

             b. Award Plaintiff statutory and actual damages, in an amount to be
                determined at trial, for the underlying FDCPA violations;

             c. Award Plaintiff costs and reasonable attorney fees as provided
                under 15 U.S.C. §1692k; and

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             d. Award any other relief as the Honorable Court deems just and
                proper.

       IV. Violations of the MOC

       86.      Plaintiff is a “consumer” or “debtor” as defined by M.C.L § 339.901(f) as

she is a person that is obligated or allegedly obligated to pay a debt.

       87.      SMS is a “collection agency” as defined by M.C.L. § 339.901(b) as it is

a person that is directly engaged in collecting or attempting to collect a claim owed or

due or asserted to be owed or due another.

       88.     The Subject Debt is a “[c]laim” or “debt” as defined by M.C.L. § 339.901(a)

as it is an obligation or alleged obligation for the payment of money or thing of value

arising out of an agreement or contract for a purchase made primarily for personal,

family, or household purposes.

       Count VI – Violations of M.C.L Section 339.915(f)(ii)

       89.     Plaintiff realleges the above paragraphs as though fully set forth herein.

       90.     The MOC, pursuant to M.C.L. Section 339.915(f)(ii) prohibits a collection

agency from “[m]isrepresenting in a communication with a debtor . . . [t]he legal rights

of the creditor or debtor.”

       91.     SMS violated M.C.L. Section 339.915(f)(ii) by repeatedly contacting

Plaintiff’s cellular phone after she demanded that it cease calling her.

       92.     Any hypothetical lawful ability of SMS to place the calls at issue was

explicitly removed after Plaintiff demanded that it cease calling her cellular phone. As

such, SMS misrepresented its legal rights in placing the phone calls, as well as Plaintiff’s

legal rights to have such phone calls cease, by continuing to contact Plaintiff’s cellular

phone absent the lawful ability to do so.

       93.     Furthermore, SMS misrepresented Plaintiff’s legal rights in regard to when

SMS could sue Plaintiff on the Subject Debt.

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       94.      SMS falsely stated that it had 21 years to sue Plaintiff on the Subject Debt,

when it could not.

       95.      SMS used such misrepresentation in order to scare Plaintiff into making a

payment on the Subject Debt.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court for the

following relief:

             a. Declare SMS’s conduct to be violations of the MOC;

             b. Enjoining SMS from further contacting Plaintiff, pursuant to M.C.L.
                § 339.916(1);

             c. Awarding Plaintiff actual damages, including treble damages,
                pursuant to M.C.L. § 339.916(2);

             d. Awarding Plaintiff statutory damages of at least $50.00, including
                treble damages, pursuant to M.C.L. § 339.916(2);

             e. Award Plaintiff costs and reasonable attorney fees, pursuant to
                M.C.L. § 339.916(2); and

             f. Awarding any other relief as this Honorable Court deems just and
                appropriate.

             Count VII – Violations of M.C.L Section 339.915(q)

       96.      Plaintiff realleges the above paragraphs as though fully set forth herein.

       97.      The MOC, pursuant to M.C.L. Section 339.915(q), subjects collection

agencies to liability for “[f]ailing to implement a procedure designed to prevent a violation

by an employee.”

       98.      SMS violated the MOC by failing to adequately have procedures in place

designed to prevent a violation by its employee(s).

       99.      Plaintiff demanded that SMS stop calling. Notwithstanding Plaintiff’s clear

request, SMS continued calling.

       100.     This demonstrates the lack of any procedures in place that SMS designed

to address consumer requests that incessant phone calls are inconvenient and should

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cease.

         101.   As such, SMS has failed to implement procedures designed to prevent its

employees from engaging in harassing, oppressive, or abusive methods in connection

with its collection of debts.

         102.   SMS’s violations of the MOC were willful. SMS was repeatedly notified by

Plaintiff that she did not wish to receive any more phone calls. Yet, Plaintiff was still

bombarded with collection phone calls from SMS.

         103.   In a willful manner, SMS called Plaintiff repeatedly notwithstanding her

demands.

         104.   Upon information and belief, SMS regularly engages in the above described

behavior against consumers in Michigan, further demonstrating its willful failure to

implement adequate procedures designed to prevent violations of the MOC.



         WHEREFORE, Plaintiff respectfully requests this Honorable Court for the

following relief:

            a. Declare SMS’s phone calls to Plaintiff to be violations of the MOC;

            b. Enjoining SMS from further contacting Plaintiff, pursuant to M.C.L.
               § 339.916(1);

            c. Awarding Plaintiff actual damages, including treble damages,
               pursuant to M.C.L. § 339.916(2);

            d. Awarding Plaintiff statutory damages of at least $50.00, including
               treble damages, pursuant to M.C.L. § 339.916(2);

            e. Award Plaintiff costs and reasonable attorney fees, pursuant to
               M.C.L. § 339.916(2); ;

            f. Awarding any other relief as this Honorable Court deems just and
               appropriate.




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 Plaintiff hereby demands a jury trial.




                                      Respectfully submitted,
Dated: 2/5/2020
                                      /s/ James C. Vlahakis
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                                      2500 South Highland Avenue #200
                                      Lombard, IL 60148
                                      Phone: (630) 581-5456
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